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8                                  UNITED STATES DISTRICT COURT
9                                         DISTRICT OF NEVADA
10                                                   ***
11    UNITED STATES OF AMERICA,                           Case No. 2:11-cr-00381-JCM-GWF
12                                           Plaintiff,                  ORDER
13            v.
14    ESTELITA A. PAULIN,
15                                         Defendant.
16

17          Presently before the court is defendant Estelita A. Paulin’s motion for release of passport.
18   (Doc. # 156). The government has filed a response and does not oppose Mrs. Paulin’s request. (See
     doc. # 157).
19

20          On March 31, 2016, the court sentenced Mrs. Paulin to twenty-four months of probation

21   without a term of incarceration. (See doc. # 155). She indicates that she has elderly and sickly

22   family members in the Philippines and may need to travel there on short notice. She requests that

23   her passport be returned from pretrial services so that she can expeditiously request approval of

24   travel outside the district from her probation officer if a visit to the Philippines becomes necessary.

25          The government does not oppose the return of her passport and asks only that Mrs. Paulin

26   receive approval of any travel from her probation officer before leaving the district. She has already

27   indicated she will do so. (See doc. # 156 at 12).

28          Good cause appearing,
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1           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that defendant Estelita A.

2    Paulin’s motion for release of passport (doc. # 156) be, and the same hereby is, GRANTED.

3           IT IS FURTHER ORDERED that the United States Pretrial Services Office is DIRECTED

4    to release the passport of Estelita A. Paulin to Mrs. Paulin.

5           DATED THIS 25th day of April 2016.

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7                                                          JAMES C. MAHAN
                                                           UNITED STATES DISTRICT JUDGE
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